              18-23302-rdd           Doc 1        Filed 08/27/18            Entered 08/27/18 16:08:40                   Main Document
                                                                           Pg 1 of 21
Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Hooper Holmes, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and        d/b/a Provant Health
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  560 N. Rogers Road
                                  Olathe, KS 66062
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Johnson                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       https://www.provanthealth.com/hooperholmes


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
              18-23302-rdd              Doc 1           Filed 08/27/18         Entered 08/27/18 16:08:40 Main Document
Debtor
                                                                              Pg 2 of 21    Case number (if known)
          Hooper Holmes, Inc.
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5419

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                          Case number
                                                  District                                 When                          Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Rider 1                                                Relationship              Affiliate
                                                             Southern District of
                                                  District   New York                      When                         Case number, if known




Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
             18-23302-rdd           Doc 1            Filed 08/27/18         Entered 08/27/18 16:08:40 Main Document
Debtor
                                                                           Pg 3 of 21    Case number (if known)
         Hooper Holmes, Inc.
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
             18-23302-rdd            Doc 1        Filed 08/27/18           Entered 08/27/18 16:08:40 Main Document
Debtor
                                                                          Pg 4 of 21    Case number (if known)
          Hooper Holmes, Inc.
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on       8/27/2018
                                                  MM / DD / YYYY


                             X   /s/ Kevin Johnson                                                       Kevin Johnson
                                 Signature of authorized representative of debtor                        Printed name

                                 Title   Chief Financial Officer




18. Signature of attorney    X   /s/ Richard James Bernard                                                Date    08/27/2018
                                 Signature of attorney for debtor                                                MM / DD / YYYY

                                 Richard James Bernard 4047056
                                 Printed name

                                 Foley & Lardner - New York
                                 Firm name

                                 90 Park Avenue
                                 New York, NY 10016-1314
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     212-682-7474                  Email address      rbernard@foley.com

                                 4047056 NY
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
18-23302-rdd   Doc 1   Filed 08/27/18    Entered 08/27/18 16:08:40   Main Document
                                        Pg 5 of 21
            18-23302-rdd                  Doc 1          Filed 08/27/18        Entered 08/27/18 16:08:40            Main Document
                                                                              Pg 6 of 21
Official Form 201A (12/15)
[If debtor is required to file periodic reports (e.g. forms 10K and 10Q) with the Securities and Exchange Commission pursuant to
Section 13 or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under chapter 11 of the Bankruptcy Code, this
Exhibit "A" shall be completed and attached to the petition.]

                                                                United States Bankruptcy Court
                                                                     Southern District of New York
    In re    Hooper Holmes, Inc.                                                                         Case No.
                                                                                  Debtor(s)              Chapter      11


                                     Attachment to Voluntary Petition for Non-Individuals Filing for
                                                    Bankruptcy under Chapter 11
1. If any of the debtor's securities are registered under Section 12 of the Securities Exchange Act of 1934, the SEC file number
   is 001-09972 .

2. The following financial data is the latest available information and refers to the debtor's condition on            June 30, 2018     .

 a. Total assets                                                                                     $                 30,232,000.00

 b. Total debts (including debts listed in 2.c., below)                                              $                 46,839,000.00

 c. Debt securities held by more than 500 holders:                                                                             Approximate
                                                                                                                                number of
                                                                                                                                 holders:

 secured                  unsecured                    subordinated                   $                      0.00                                    0
 secured                  unsecured                    subordinated                   $                      0.00                                    0
 secured                  unsecured                    subordinated                   $                      0.00                                    0
 secured                  unsecured                    subordinated                   $                      0.00                                    0
 secured                  unsecured                    subordinated                   $                      0.00                                    0

 d. Number of shares of preferred stock                                                                         0                                    0

 e. Number of shares common stock                                                                    26,768,4981                                 690
      Comments, if any:


3. Brief description of Debtor's business:
     The Debtor provides comprehensive health and wellbeing services to private and government customers via a network of health
     professionals throughout the country. The Debtors’ services include on-site screening services and flu shots, laboratory testing,
     health risk assessment, sample collections services, and health coaching to support positive health risk migration. The Debtor is
     headquartered in Olathe, Kansas, but its operations are extensive and span across the United States.

4. List the name of any person who directly or indirectly owns, controls, or holds, with power to vote, 5% or more of the voting
   securities of debtor:
     WH-HH Holdings, LLC (46.77%); John Pappajohn (8.02%)




1
    As of July 31, 2018.
Official Form 201A               Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                  Best Case Bankruptcy
              18-23302-rdd              Doc 1          Filed 08/27/18         Entered 08/27/18 16:08:40                        Main Document
                                                                             Pg 7 of 21


      Fill in this information to Identify the case:

      Debtor Name: HOOPER HOLMES, INC., et al
                                                                                                                                             Check if this is an
      United States Bankruptcy Court for the:          Southern District of New York                                                         amended filing
      Case Number (If known):         18-_____




  Official Form 204
  Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30
  Largest Unsecured Claims and Are Not Insiders                              12/15
  A consolidated list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims
  which the debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
  include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the
  holders of the 30 largest unsecured claims.


   Name of creditor and complete mailing         Name, telephone number,     Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code                   and email address of        (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                                 creditor contact            debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                             professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                             services, and         or disputed     setoff to calculate unsecured claim.
                                                                             government
                                                                             contracts)
                                                                                                                   Total claim, if       Deduction          Unsecured
                                                                                                                   partially secured     for value of       claim
                                                                                                                                         collateral or
                                                                                                                                         setoff

  1       MOORE MEDICAL                          PHONE: 800-234-1464       TRADE DEBT                                  $4,044,334.66                           $4,044,334.66
          1690 NEW BRITAIN AVE                   mmregulatoryaffairs@moore
          FARMINGTON, CT 06032                   medical.com
  2       CANTOR FITZGERALD & CO.                CONTACT: DAVID A. PAUL      LITIGATION                CUD             $3,961,000.00                           $3,961,000.00
          110 EAST 59TH ST., 7TH FL              PHONE: 212-610-2298
          NEW YORK, NY 10022                     dpaul@cantor.com
  3       MINUTECLINIC DIAGNOSTIC                CONTACT: ANNE LIGHTFOOT TRADE DEBT                                    $1,582,139.45                           $1,582,139.45
          ONE MINUTECLINIC DRIVE, MAIL           PHONE: 866-389-2727
          STOP: 100 SVD                          FAX: 401-216-0166
          WOONSOCKET, RI 02895                   VACCINECONTRACTING@CVS
                                                 CAREMARK.COM


  4       LABORATORY CORPORATION                 CONTACT: PAMELA             TRADE DEBT                                $1,412,622.75                           $1,412,622.75
          LAW DEPARTMENT                         EDWARDS
          531 SOUTH SPRING STREET                PHONE: 336-229-1127
          BURLINGTON, NC 27215
  5       SPENCER FANE BRITT & BROWNE            CONTACT: NATHAN A. ORR      TRADE DEBT                                  $830,677.17                             $830,677.17
          1000 WALNUT ST                         PHONE: 816-474-8100
          STE 1400                               FAX: 816-474-3216
          KANSAS CITY, MO 64106                  NORR@SPENCERFANE.COM
  6       ABRIELLA LANIER                        CONTACT: HERNALDO J.        SETTLEMENT                                  $750,000.00                             $750,000.00
          C/O BALTODANO & BALTODANO LLP          BALTODANO                   AGREEMENT
          733 MARSH ST., STE 110                 PHONE: 805-322-3412
          LOS ANGELES, CA 90071                  FAX: 805-322-3413
                                                 INFO@BALTODANOFIRM.CO
                                                 M
  7       OPTISOM, LLC                           PHONE: 619-299-6299         TRADE DEBT                                  $658,419.26                             $658,419.26
          2525 CAMINO DEL RIO SOUTH #270         infO@optisom.com
          SAN DIEGO, CA 92108



Official Form 204         Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                       Page 1
            18-23302-rdd            Doc 1       Filed 08/27/18        Entered 08/27/18 16:08:40                        Main Document
                                                                     Pg 8 of 21
  Debtor: HOOPER HOLMES, INC., et al                                                         Case Number (if known): 18-____ 01
   Name of creditor and complete mailing   Name, telephone number,   Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of      (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact          debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                     professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                     services, and         or disputed     setoff to calculate unsecured claim.
                                                                     government
                                                                     contracts)
                                                                                                           Total claim, if       Deduction          Unsecured
                                                                                                           partially secured     for value of       claim
                                                                                                                                 collateral or
                                                                                                                                 setoff

  8     CLINICAL REFERENCE LABORATORY      PHONE: 913-492-3652        TRADE DEBT                                 $598,074.26                             $598,074.26
        8433 QUIVIRA RD                    FAX: 913-492-6753
        LENEXA, KS 66215
  9     ENGAGE2EXCEL                       CONTACT: EMILY GATTON      TRADE DEBT                                 $581,573.27                             $581,573.27
        149 CRAWFORD ROAD                  PHONE: 508-222-2900
        STATESVILLE, NC 28625              FAX: 508-222-7089
  10    HENRY DUBOIS                       PHONE: 703-942-5488        EMPLOYMENT                                 $429,000.00                             $429,000.00
        894 CENTRILLION DRIVE                                         AGREEMENT
        MCLEAN, VA 22102
  11    HANSON MEDICAL SYSTEMS             PHONE: 407-671-3883        LITIGATION                D                $315,961.34                             $315,961.34
        1954 HOWELL BRANCH ROAD            FAX: 407-671-4403
        SUITE 203                          abrown@hansonmed.com
        WINTER PARK, FL 32792
  12    BLUE CROSS BLUE SHIELD OF KC       PHONE: 816-395-3558        TRADE DEBT                                 $286,561.67                             $286,561.67
        2301 MAIN STREET
        KANSAS CITY, MO 64108
  13    WELLNESS CORPORATE SOLUTIONS       PHONE: 301-229-7555         TRADE DEBT                                $285,798.21                             $285,798.21
        PO BOX 56346                       info@wellnesscorporatesolut
        ATLANTA, GA 30343                  ions. Com
  14    UNITED PARCEL SERVICE              CONTACT: FELICIA ADKINS    TRADE DEBT                                 $259,458.40                             $259,458.40
        ATTN: CONTRACTS                    PHONE: 630-213-9450
        12380 MORRIS RD
        ALPHARETTA, GA 30005
  15    QUEST DIAGNOSTICS                  PHONE: 404-221-0973        TRADE DEBT                                 $253,665.00                             $253,665.00
        550 WEST PEACHTREE STREET
        NORTHWES
        STE 1775
        ATLANTA, GA 30308
  16    FEDEX                              CONTACT: ATTN: GENERAL     TRADE DEBT                                 $222,661.95                             $222,661.95
        THREE GALLERIA TOWER               COUNSEL
        13155 NOEL ROAD                    PHONE: 412-391-2014
        DALLAS, TX 75240                   LEGAL.CAESALES@FEDEX.CO
                                           M
  17    AMERICAN EXPRESS                   PHONE: 214-742-8200        TRADE DEBT                                 $173,405.26                             $173,405.26
        1321 COMMERCE ST
        DALLAS, TX 75202
  18    STEVEN BALTHAZOR                   PHONE: 1-800-528-2122      EMPLOYMENT                                 $142,811.48                             $142,811.48
        3092 NOBLE COURT                                              AGREEMENT
        BOULDER, CO 80301
  19    SALESFORCE.COM INC                 PHONE: 1-888-747-9736      TRADE DEBT                                 $142,571.72                             $142,571.72
        THE LANDMARK @ ONE MARKET
        SUITE 300
        SAN FRANCISCO, CA 94105
  20    ZIPONGO, INC.                      CONTACT: SCOTT E. SMITH    TRADE DEBT                                 $141,611.60                             $141,611.60
        901 BATTERY ST., STE 250           PHONE: 415-729-5433
        SAN FRANCISCO, CA 94111            SCOTT.SMITH@ZIPONGO.CO
                                           M
  21    HALLMARK                           CONTACT: LEA SCOTT         TRADE DEBT                                 $132,625.50                             $132,625.50
        2501 MCGEE TRAFFICWAY,             PHONE: 816-274-3524
        MD 510                             LEA.SCOTT@HALLMARK.CO
        KANSAS CITY, MO 64141              M




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                  Page 2
            18-23302-rdd              Doc 1     Filed 08/27/18         Entered 08/27/18 16:08:40                        Main Document
                                                                      Pg 9 of 21
  Debtor: HOOPER HOLMES, INC., et al                                                          Case Number (if known): 18-____ 01
   Name of creditor and complete mailing   Name, telephone number,    Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code             and email address of       (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                           creditor contact           debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                      professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                      services, and         or disputed     setoff to calculate unsecured claim.
                                                                      government
                                                                      contracts)
                                                                                                            Total claim, if       Deduction          Unsecured
                                                                                                            partially secured     for value of       claim
                                                                                                                                  collateral or
                                                                                                                                  setoff

  22    RICHA AHUJA                        CONTACT: ALEXEI            SETTLEMENT                                  $120,050.00                             $120,050.00
        C/O KLEIN LAW GROUP, LLP           KUCHINSKY                  AGREEMENT
        4 EMBARCADERO CTR, STE 3900        PHONE: 415-693-9107
        SAN FRANCISCO, CA 94111            FAX: 415-693-9222
  23    ALLIED GLOBAL SERVICES, LLC        PHONE: 913-253-7000        TRADE DEBT                                  $119,881.69                             $119,881.69
        10901 W 84TH TERR #220
        LENEXA, KS 66214
  24    GRANT THORNTON LLP                 PHONE: (703) 847-7500      TRADE DEBT                                  $114,340.00                             $114,340.00
        33960 TREASURY CENTER              FAX: (703) 848-9580
        CHICAGO, IL 60694-3900
  25    COLLEGE CROSSING EFGH, LLC         CONTACT: KELLY D. STOHS    SETTLEMENT                                  $111,650.00                             $111,650.00
        C/O POLSINELLI PC                  PHONE: 913-234-7512        AGREEMENT
        6201 COLLEGE BLVD, STE 500         FAX: 913-451-6205
        OVERLAND PARK, KS 66211            KSTOHS@POLSINELLI.COM
  26    ND DATA GROUP OF RI                CONTACT: TOM ANDERSON      TRADE DEBT                                  $105,075.25                             $105,075.25
        1459 STUART ENGLAS BLVD            PHONE: 843-284-0080
        SUITE 303
        MOUNT PLEASANT, SC 29464
  27    NETANIUM                           CONTACT: JUSTIN SAKOVITZ   TRADE DEBT                                  $101,293.60                             $101,293.60
        116 JOHN STREET                    PHONE: 1-888-638-6638
        SUITE 110                          JSAKOVITZ@NETANIUM.CO
        LOWELL, MA 1852                    M
  28    NYSE MARKET                        PHONE: 1-212-656-5505      TRADE DEBT                                   $93,281.48                              $93,281.48
        11 WALL STREET
        NEW YORK, NY 10005
  29    ELIASSEN GROUP LLC                 PHONE: 800-354-2773        TRADE DEBT                                   $91,960.00                              $91,960.00
        55 WALKERS BROOK DRIVE             solutions@eliassen.com
        6TH FLOOR
        READING, MA 1867
  30    AT&T CORP.                         CONTACT: KAREN             SETTLEMENT                                   $91,824.90                              $91,824.90
        ONE AT&T WAY, ROOM 3A176           CAVAGNARO
        BEDMINSTER, NJ 07921               PHONE: 908 234-6150
                                           KM1426@ATT.COM




Official Form 204      Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest Unsecured Claims                                   Page 3
          18-23302-rdd               Doc 1         Filed 08/27/18            Entered 08/27/18 16:08:40                          Main Document
                                                                            Pg 10 of 21

                                                        United States Bankruptcy Court
                                                              Southern District of New York
    In re: Hooper Holmes, Inc.                                                                                        Case No. 18‐xxxxx1
                                                                                 Debtor(s)
                                                                                                                      Chapter       11

                                             LIST OF EQUITY SECURITY HOLDERS 1
    Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) of the Federal Rules of
    Bankruptcy Procedure for filing in this Chapter 11 Case.

    Name and last known address or place                                                                Number of                             Ownership
    of                                                                     Security Class               Securities           Kind of Interest Percentage
    FRANK BAZOS                                                            Common Stock                        68,600             Common             Less than 1%
    C/O HOOPER HOLMES, INC.
    560 N. ROGERS ROAD
    OLATHE, KS 66286

    JAMES FOREMAN                                                          Common Stock                        68,600             Common             Less than 1%
    C/O HOOPER HOLMES, INC.
    560 N. ROGERS ROAD
    OLATHE, KS 66286

    JOHN PAPPAJOHN                                                         Common Stock                    2,145,930              Common                  8.02%
    666 WALNUT STREET SUITE 2116
    DES MOINES IA 50309

    LARRY R FERGUSON                                                       Common Stock                      139,976              Common             Less than 1%
    C/O HOOPER HOLMES, INC.
    560 N. ROGERS ROAD
    OLATHE, KS 66286

    PAUL DAOUST                                                            Common Stock                      189,873              Common             Less than 1%
    C/O HOOPER HOLMES, INC.
    560 N. ROGERS ROAD
    OLATHE, KS 66286

    RONALD V APRAHAMIAN                                                    Common Stock                      758,056              Common                  2.83%
    C/O HOOPER HOLMES, INC.
    560 N. ROGERS ROAD
    OLATHE, KS 66286

    THOMAS WATFORD                                                         Common Stock                      119,832              Common             Less than 1%
    C/O HOOPER HOLMES, INC.
    560 N. ROGERS ROAD
    OLATHE, KS 66286

    WH‐HH HOLDINGS LLC                                                     Common Stock                  12,519,259               Common                 46.77%
    C/O CENTURY EQUITY PARTNERS LLC
    100 FEDERAL STREET 29TH FLOOR
    BOSTON MA 02110
1        This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal Rules of Bankruptcy Procedure. All equity positions
     listed are as of July 31, 2018. By the Debtors’ Motion for an Order (I) Extending Time to File Schedules of Assets and Liabilities, Schedules of Current
    Income and Expenditures, Schedules of Executory Contracts and Unexpired Leases, and Statements of Financial Affairs, and (II) Waiving Requirements to
    File List of Equity Holders filed contemporaneously herewith, the Debtor is requesting a waiver of the requirement under rule 1007 to file a list of all of its
    equity security holders.



    Sheet 1 of 1 in List of Equity Security Holders
        18-23302-rdd       Doc 1     Filed 08/27/18     Entered 08/27/18 16:08:40            Main Document
                                                       Pg 11 of 21


        UNITED STATES BANKRUPTCY COURT
        SOUTHERN DISTRICT OF NEW YORK
        ------------------------------------------------------------- ---x
        In re:                                                           :
                                                                           Chapter 11
                                                                         :
        HOOPER HOLMES, INC.                                              :
                                                                           Case No. 18-____ (___)
                                                                         :
                          Debtor.                                        :
                                                                         :
        -----------------------------------------------------------------x


                                   CORPORATE OWNERSHIP STATEMENT

                Pursuant to rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,
        the following are corporations, other than a government unit, that directly or indirectly own 10%
        or more of any class of the debtor’s equity interest:

        Shareholder                                           Approximate Percentage of Shares Held
        WH-HH Holdings LLC                                    46.77%




4827-5691-2496.1
           18-23302-rdd                  Doc 1           Filed 08/27/18            Entered 08/27/18 16:08:40                 Main Document
                                                                                  Pg 12 of 21




 Fill in this information to identify the case:

 Debtor name         Hooper Holmes, Inc.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                          12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 30 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration    List of Equity Security Holders and Corporate Ownership Statement

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          08/27/2018                              X /s/ Kevin Johnson
                                                                       Signature of individual signing on behalf of debtor

                                                                       Kevin Johnson
                                                                       Printed name

                                                                       Chief Financial Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2018 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
18-23302-rdd      Doc 1    Filed 08/27/18     Entered 08/27/18 16:08:40          Main Document
                                             Pg 13 of 21


          RESOLUTIONS ADOPTED BY UNANIMOUS WRITTEN CONSENT
                    OF THE BOARD OF DIRECTORS OF
                         HOOPER HOLMES, INC.

       The undersigned, constituting all the members of the Board of Directors (the “Directors”)
of Hooper Holmes, Inc. (the “Corporation”), hereby adopt the following resolutions as of August
27, 2018:

       WHEREAS, Frank Bazos, Jim Foreman, and Tom Watford all submitted their written
resignations from the Board, effective August 26, 2018; and

        WHEREAS, the Directors have considered the financial condition and circumstances of
the Corporation and its direct and indirect subsidiaries, including without limitation the assets
and liabilities of the Corporation and its operational performance; and

        WHEREAS, the Directors have reviewed, considered and received the recommendations
of the officers of the Corporation and the Corporation’s professional advisors as to the relative
risks and benefits of bankruptcy proceedings; and

        WHEREAS, the Directors have made the informed determination that there is no viable
alternative to bankruptcy proceedings, and that it is in the best interests of the Corporation and its
subsidiaries, creditors, and other interested parties, including, but not limited to the creditors of
the Corporation’s subsidiaries, to file voluntary petitions (the “Voluntary Petitions”) for relief
under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101-1532 (the “Bankruptcy
Code”) in the United States Bankruptcy Court for the Southern District of New York (the
“Bankruptcy Court”).

1.     Reduction of Size of Board

        NOW, THEREFORE, BE IT RESOLVED, that the resignations of Mr. Bazos, Mr.
Foreman, and Mr. Watford are accepted, and the size of the Board is hereby reduced to three
directors.

2.     Filing of Voluntary Petitions

        RESOLVED, that the Directors hereby find, determine and conclude that it is desirable
and in the best interests of the Corporation and its subsidiaries and its shareholders, creditors,
and other interested parties, including the creditors of the Corporation’s subsidiaries that the
Voluntary Petitions seeking relief under the Bankruptcy Code be filed by the Corporation and its
subsidiaries in the United States, and the filing of the Voluntary Petitions is authorized hereby as
and in the manner described below.

3.     Appointment of Authorized Individuals

       RESOLVED, that Mark Clermont and any officer of the Corporation (the “Authorized
Individuals”) be, and hereby are, each authorized to take such actions on behalf of the
Corporation as are described below.
18-23302-rdd     Doc 1     Filed 08/27/18    Entered 08/27/18 16:08:40         Main Document
                                            Pg 14 of 21


4.     Actions by Authorized Individuals

         RESOLVED, that the Directors hereby authorize and empower any of the Authorized
Individuals to execute and verify the Voluntary Petitions in the name of the Corporation and its
filing subsidiaries under chapter 11 of the Bankruptcy Code, and to cause the same to be filed in
the Bankruptcy Court in such form and at such time as the Authorized Individual(s) executing
the Voluntary Petitions on behalf of the Corporation and its subsidiaries shall determine, and to
take such other actions at such times as any of the Authorized Individuals deem necessary,
appropriate or desirable to cause the preparation and filing of the Voluntary Petitions, schedules,
statements of financial affairs, lists, affidavits, pleadings and other papers or documents, and to
take any and all actions which any of the Authorized Individuals deem necessary or proper for
and on behalf of the Corporation to obtain relief under the Bankruptcy Code, including without
limitation depositing the executed Voluntary Petitions, schedules, statement of financial affairs,
lists, affidavits, pleadings and other papers or documents in the custody of the law firm of Foley
& Lardner LLP (“Foley & Lardner”), to be held in trust until such time as any of the Authorized
Individuals instructs Foley, either orally or in writing, to file the Voluntary Petitions and
schedules, statements of financial affairs, lists, affidavits, pleadings and other papers or
documents; provided, however, that the filing of such Voluntary Petitions shall be conditioned
upon: (i) completion of DIP financing agreements, or (ii) the filing of an involuntary petition or a
direct threat of filing an involuntary petition by creditors who have already organized themselves
to file such an involuntary petition; and provided, further, that the filing of such Voluntary
Petitions shall be timed, if feasible, so as to minimize disruption in the performance of employee
duties; and be it

        FURTHER RESOLVED, that the Authorized Individuals be, and each of them hereby
is, authorized and empowered on behalf of, and in the name of, the Corporation to take such
actions as any of them deem necessary, appropriate, advisable or desirable to pursue and
maximize the benefits of the Corporation’s restructuring in chapter 11, including without
limitation making arrangements for use of cash collateral and/or entering into arrangements for
new financing, refinancing, and debtor-in-possession financing, in such amounts, with such
interest rates and with such maturities as any of the Authorized Individuals may determine in
their discretion; and be it

        FURTHER RESOLVED, that if a chapter 11 case is commenced, and after consultation
with and subject to the approval of the Directors, the Authorized Individuals be, and each of
them hereby is, authorized and empowered on behalf of, and in the name of, the Corporation to
take such actions as any of them deem necessary, appropriate, advisable or desirable to pursue
and maximize the benefits of the Corporation’s restructuring in chapter 11, including without
limitation: (a) pursuing and consummating any sale or sales of the Corporation’s assets any of
them deem necessary or appropriate, and (b) developing, negotiating, confirming, and
performing under a bankruptcy plan of reorganization or liquidation, and negotiating, executing
and delivering on behalf of the Corporation any and all agreements, instruments, and related
documents that, in the judgment and discretion of any of the Authorized Individuals are
necessary, appropriate, advisable, or desirable for pursuing and consummating such sale or sales
of the Corporation’s assets or for such development, negotiation, and confirmation of, and
performance under, such a bankruptcy plan of reorganization or liquidation, including without
limitation executing asset purchase agreements, plans, and related documents; and be it


                                                 2
18-23302-rdd      Doc 1    Filed 08/27/18     Entered 08/27/18 16:08:40          Main Document
                                             Pg 15 of 21


        FURTHER RESOLVED, that the Authorized Individuals be, and each of them hereby
is authorized to employ the law firm of Foley & Lardner as general bankruptcy counsel to the
Corporation and its direct and indirect subsidiaries, and to represent and assist the Corporation
and its direct and indirect subsidiaries in considering restructuring alternatives and in filing the
Voluntary Petitions under chapter 11 of the Bankruptcy Code and to take any and all actions to
advance the Corporation’s rights (including, but not limited to, advising the Corporation and/or
its subsidiaries with respect to the possible sale of assets; advising the Corporation and/or its
subsidiaries regarding general corporate matters; representing and advising the Corporation
and/or its subsidiaries in litigation; advising the Corporation and/or its subsidiaries in state and
federal regulatory matters; advising the Corporation and/or its subsidiaries regarding finance
matters; advising the Corporation and/or its subsidiaries regarding securities law matters;
advising the Corporation and/or its subsidiaries regarding labor and employment matters; and
advising the Corporation and/or its subsidiaries regarding intellectual property matters), and, in
connection therewith, the Authorized Individuals are authorized and directed to pay appropriate
retainers prior to and immediately upon the filing of the chapter 11 case, and to cause to be filed
appropriate applications for authority to retain the services of Foley & Lardner; and be it

        FURTHER RESOLVED, that the Authorized Individuals be, and each of them hereby
is, authorized to employ Halperin Battaglia Benzija, LLP (“Halperin”) as conflicts counsel to the
Corporation and its direct and indirect subsidiaries, and to represent and assist the Corporation
and its direct and indirect subsidiaries as conflicts counsel in connection with any chapter 11
case and to take any and all actions to advance the Corporation’s rights in the event that Foley &
Lardner is unable to represent the Corporation and its direct and indirect subsidiaries due to any
conflicts, and, in connection therewith, the Authorized Individuals are authorized and directed to
pay appropriate retainers prior to and immediately upon the filing of the chapter 11 case, and to
cause to be filed appropriate applications for authority to retain the services of Halperin; and be it

        FURTHER RESOLVED, that the Authorized Individuals be, and each of them hereby
is, authorized to employ Spencer Fane LLP (“Spencer Fane”) as securities counsel to the
Corporation and its direct and indirect subsidiaries, and to represent and assist the Corporation
and its direct and indirect subsidiaries in considering corporate governance matters and to advise
on such other matters as requested by the Corporation’s Board of Directors, and, in connection
therewith, the Authorized Individuals are authorized and directed to pay appropriate retainers
prior to and immediately upon the filing of the chapter 11 case, and to cause to be filed
appropriate applications for authority to retain the services of Spencer Fane; and be it

         FURTHER RESOLVED, that the Authorized Individuals be, and each of them hereby
is, authorized to employ Epiq Corporate Restructuring, LLC (“Epiq”) as the notice, claims,
solicitation, and balloting agent in connection with the chapter 11 case commenced by the
Corporation and/or its direct and indirect subsidiaries under chapter 11 of the Bankruptcy Code,
and in connection therewith, the Authorized Individuals are authorized and directed to pay
appropriate retainers prior to and immediately upon the filing of the chapter 11 case, and to cause
to be filed appropriate applications for authority to retain the services of Epiq; and be it

        FURTHER RESOLVED, that the Authorized Individuals be, and each of them hereby
is, authorized to employ Phoenix Management Services (“Phoenix”) as financial advisor, to
represent and assist the Corporation and its direct and indirect subsidiaries in considering
restructuring alternatives, undertaking sales of assets, obtaining financing, and carrying out its

                                                  3
18-23302-rdd     Doc 1     Filed 08/27/18    Entered 08/27/18 16:08:40          Main Document
                                            Pg 16 of 21


duties under the Bankruptcy Code, and in connection therewith, the Authorized Individuals are
authorized to execute appropriate retention agreements, pay appropriate retainers prior to and
immediately upon the filing of the chapter 11 case, and to cause to be filed appropriate
applications for authority to retain the services of Phoenix, including, without limitation,
pursuant to Section 363 of the Bankruptcy Code; and be it

        FURTHER RESOLVED, that the Authorized Individuals be, and each of them hereby
is, authorized to employ Raymond James & Associates, Inc. (“Raymond James”) as investment
banker and financial adviser, to represent and assist the Corporation in considering restructuring
alternatives, undertaking sales of assets, obtaining financing, and carrying out its duties under the
Bankruptcy Code, and in connection therewith, the Authorized Individuals are authorized to
execute appropriate retention agreements, pay appropriate retainers prior to and immediately
upon the filing of the chapter 11 case, and to cause to be filed appropriate applications for
authority to retain the services of Raymond James, including, without limitation, pursuant to
Section 327 of the Bankruptcy Code; and be it

        FURTHER RESOLVED, that the Authorized Individuals be, and each of them hereby
is, authorized to employ any additional financial advisors, attorneys, or consultants to the
Corporation as the Authorized Individuals deem necessary, appropriate, advisable or desirable to
represent and assist the Corporation in considering restructuring alternatives and carrying out its
duties under the Bankruptcy Code; and in connection therewith, the Authorized Individuals are
authorized to execute appropriate retention agreements, pay appropriate retainers prior to and
immediately upon the filing of the chapter 11 case, and cause to be filed appropriate applications
for authority to retain the services of such additional professionals; and be it

        FURTHER RESOLVED, that the Authorized Individuals (and such Directors of the
Corporation or such officers, managers, or agents of subsidiaries as the Authorized Individuals
may from time to time designate) be, and each of them hereby is, authorized and empowered, in
the name of, and on behalf of the Corporation and its direct and indirect subsidiaries: (a) to take
or cause to be taken any and all such other and further actions; (b) to do and perform, or cause to
be done or performed, all such acts and things; (c) to negotiate, execute and deliver, or cause to
be negotiated, executed or delivered, all such further papers, pleadings, documents and
instruments of any type and description; and (d) to pay, or cause to be paid, any and all fees,
charges and costs of any type or description, all of which may be, or may be deemed to be,
necessary, appropriate, advisable, or desirable to effect the purposes and intent of the foregoing
resolutions, the necessity, propriety, advisability, or desirability of which shall be conclusively
evidenced by the Authorized Individuals’ taking, or causing to be taken, any such action, doing
and performing, or causing to be done or performed, any such act or thing, executing and
delivering, or causing to be executed and delivered, any such papers, pleadings, documents, or
instruments, or paying, or causing to be paid, any such fees, charges and costs; and the execution
by any of such officers of any such papers, pleadings, documents or instruments, or the doing by
any of them of any act or thing in connection with any of the matters or things contemplated by,
arising out of or in connection with, or otherwise relating in any manner whatsoever, the subject
of the resolutions set forth above, shall conclusively establish their authority therefor from the
Corporation and the approval and ratification by the Corporation of any and all papers,
pleadings, documents, and instruments so executed and delivered, and any and all action so
taken, done or performed.


                                                 4
18-23302-rdd     Doc 1     Filed 08/27/18    Entered 08/27/18 16:08:40          Main Document
                                            Pg 17 of 21


5.     Asset Sale

         WHEREAS, the Corporation intends to sell substantially all of the assets of the
Corporation and its direct and indirect subsidiaries in connection with the chapter 11 case
commenced by the Corporation and/or its direct and indirect subsidiaries under chapter 11 of the
Bankruptcy Code pursuant to that certain Asset Purchase Agreement by and among Summit
Health, Inc. and the Corporation and its direct and indirect subsidiaries, along with any ancillary
documents and agreements thereto in substantially the form reviewed by the Board in connection
with these resolutions (collectively, the “Purchase Agreement”), which Purchase Agreement
shall be subject to higher and better bids at an auction, if necessary, and Bankruptcy Court
approval;

        WHEREAS, the Directors hereby find, determine, and conclude that it is desirable and in
the best interests of the Corporation and its subsidiaries and its shareholders, creditors, and other
interested parties, including the creditors of the Corporation’s subsidiaries that the Authorized
Individuals execute and enter into the Purchase Agreement on behalf of the Corporation and its
direct and indirect subsidiaries;

       NOW, THEREFORE, BE IT RESOLVED, that the Authorized Individuals be, and
each of them hereby is, authorized to execute and enter into the Purchase Agreement on behalf of
the Corporation and its direct and indirect subsidiaries and sell substantially all of the
Corporation’s assets free and clear of all liens, claims and encumbrances under Section 363 of
the Bankruptcy Code, subject to higher and better bids at an auction, if necessary, and
Bankruptcy Court approval, as may be required by the Bankruptcy Code, and as may be deemed
necessary and proper in connection with the chapter 11 case by any of the Authorized
Individuals; and be it

        FURTHER RESOLVED, that the Authorized Individuals be, and each of them hereby
is, authorized to execute, verify and/or file or cause to be filed and or executed or verified (or
direct others to do so on their behalf as provided herein) all necessary documents including,
without limitation, all schedules, motions, lists, pleadings and other papers, including, without
limitation, a motion to sell some or substantially all of the Corporation’s assets under Section
363 of the Bankruptcy Code, and to take any and all actions which they deem necessary and
proper in connection with the consummation of sale contemplated by the Purchase Agreement.

6.     Prior Related Acts

        RESOLVED, that all of the acts and transactions of the Directors and the Authorized
Individuals relating to matters contemplated by the foregoing resolutions, taken in the name of
and on behalf of the Corporation, which acts would have been approved by the foregoing
resolutions except that such acts were taken prior to execution of these resolutions, are hereby in
all respects confirmed, approved, and ratified.




                                                 5
18-23302-rdd    Doc 1   Filed 08/27/18    Entered 08/27/18 16:08:40    Main Document
                                         Pg 18 of 21


7.    Maintenance of Liquidity

       RESOLVED, that the Corporation shall use best efforts to maintain liquidity to meet
newly incurred obligations.

                                 [signatures on next page]




                                             6
18-23302-rdd   Doc 1   Filed 08/27/18    Entered 08/27/18 16:08:40   Main Document
                                        Pg 19 of 21
18-23302-rdd   Doc 1   Filed 08/27/18    Entered 08/27/18 16:08:40   Main Document
                                        Pg 20 of 21
18-23302-rdd   Doc 1   Filed 08/27/18    Entered 08/27/18 16:08:40   Main Document
                                        Pg 21 of 21
